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8                                     UNITED STATES DISTRICT COURT
9                                    CENTRAL DISTRICT OF CALIFORNIA
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11     Anthony Romero,                              )   NO. CV 21-07293-FMO (AFMx)
                                                    )
12                          Plaintiff(s),           )
                                                    )
13                   v.                             )   ORDER DISMISSING ACTION WITHOUT
                                                    )   PREJUDICE
14                                                  )
       City of Baldwin Park et al,                  )
15                                                  )
                            Defendant(s).           )
16                                                  )
17            Having been advised by counsel that the above-entitled action has been settled, IT IS
18     ORDERED that the above-captioned action is hereby dismissed without costs and without
19     prejudice to the right, upon good cause shown within 30 days from the filing date of this Order,
20     to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
21     action and this Order shall not prejudice any party to this action.
22     Dated this 2nd day of August, 2022.
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24                                                                         /s/
                                                                      Fernando M. Olguin
25                                                               United States District Judge
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